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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        ) CASE NO. 20-CR-00138-JD
                                                      )
14           Plaintiff,                               ) DETENTION ORDER
                                                      )
15      v.                                            )
                                                      )
16   ESMUN MOYSES MORAL-RAUDALES,                     )
                                                      )
17           Defendant.                               )
                                                      )
18

19           On November 2, 2021, defendant Esmun Moyses Moral-Raudales was charged in a Form 12
20 with three violations of his supervised release.

21           This matter came before the Court on January 24, 2022, for a status on detention. The defendant
22 was present and represented by Candis Mitchell. Assistant United States Attorney Molly A. Smolen

23 appeared for the government. The government moved for detention, and the defendant opposed. At the

24 hearing, counsel submitted proffers and arguments regarding detention.

25           Upon consideration of the facts, proffers and arguments presented, and for the reasons stated on
26 the record, the Court finds that the defendant has not met his burden of proving by clear and convincing

27 evidence that he will not flee or pose a danger to any other person or to the community. Accordingly,

28 the defendant must be detained pending resolution of this matter.

     DETENTION ORDER                                  1                                            v. 11/01/2018
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 1          The present order supplements the Court’s findings and order at the January 24, 2022, hearing

 2 and serves as written findings of fact and a statement of reasons as required by Title 18, United States

 3 Code, Section 3142(i)(1). As noted on the record, the Court makes the following findings as the bases

 4 for its conclusion: the defendant has been in absconded status for a period of approximately eighteen

 5 months, since receiving a time served sentence in the underlying case on June 29, 2020, demonstrating

 6 that he poses a risk of flight. Additionally, the allegations in the Form 12 indicate that the defendant

 7 resumed conduct similar to the crime for which he had previously been convicted, posing a danger to the

 8 community. These findings are made without prejudice to the defendant’s right to seek review of

 9 defendant’s detention, or file a motion for reconsideration if circumstances warrant it.

10          Pursuant to 18 U.S.C. § 3142(i), IT IS ORDERED THAT:

11          1.      The defendant be, and hereby is, committed to the custody of the Attorney General for

12 confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving

13 sentences or being held in custody pending appeal;

14          2.      The defendant be afforded reasonable opportunity for private consultation with counsel;

15 and

16          3.      On order of a court of the United States or on request of an attorney for the government,

17 the person in charge of the corrections facility in which the defendant is confined shall deliver the

18 defendant to an authorized United States Marshal for the purpose of any appearance in connection with a

19 court proceeding.

20          IT IS SO ORDERED.

21

22 DATED: January 26, 2022                                       ________________________
                                                                 HONORABLE SALLIE KIM
23
                                                                 United States Magistrate Judge
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     DETENTION ORDER                                 2                                             v. 11/01/2018
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